Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 1 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 2 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 3 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 4 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 5 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 6 of 7
Case 3:06-cr-03014-LTS-KEM   Document 86   Filed 02/12/07   Page 7 of 7
